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                      IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF FLORIDA (MIAMI DIVISION)


       UNITED STATES OF AMERICA                              Case No.: 1:18-cr-20685-KMW

                    v.

       ABRAHAM EDGARDO ORTEGA,

                    Defendant.


                         MOTION OF PETRÓLEOS DE VENEZUELA, S.A
                         FOR VICTIM STATUS AND RESTITUTION, AND
                              INCORPORATED MEMORANDUM

           Petróleos de Venezuela, S.A. (PDVSA) hereby moves, pursuant to 18 U.S.C. §§ 3663A,

   3664, and 3771, and Federal Rules of Criminal Procedure 32 and 60, for an order recognizing

   PDVSA as a victim of the crime committed by Defendant Abraham Edgardo Ortega and an

   award of restitution from the Defendant in the amount of $560,033,118.19.

                                          MEMORANDUM

                                           BACKGROUND

           On October 31, 2018, Defendant Abraham Edgardo Ortega pled guilty to a Superseding

   Information (DE 61) charging him with conspiracy to commit money laundering, in violation of

   18 U.S.C. § 1956(h). Ortega’s plea was made pursuant to an agreement (DE 64), which was

   accompanied by a factual proffer detailing the circumstances of his crime (DE 65). The Plea

   Agreement anticipates and accepts that the Court “may order criminal forfeiture and restitution.”

   (DE 64 ¶ 5; see id. ¶¶ 17, 18.) 1



   1
     While a forfeiture order has already been entered in this case, such orders do not preclude
   restitution, and indeed “a district court generally has no authority to offset a defendant’s
                                                                      (footnote continued on next page)
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          A.      The Eaton-Rantor Loan Scheme Embezzled Hundreds of Millions of Dollars
                  from PDVSA

          “The conspiracy in this case began in December 2014 with a currency exchange scheme

   to embezzle approximately 600 million U.S. Dollars from PDVSA.” Aff. of Special Agent

   George F. Fernandez (“Fernandez Aff.”) ¶ 30 (DE 3). PDVSA, Venezuela’s state-owned oil and

   natural gas company, “is Venezuela’s primary source of income and foreign currency (namely,

   U.S. Dollars and Euros).” Ortega Factual Proffer ¶ 4 (DE 65). The conspirators here, including

   Ortega, used PDVSA “as the source of foreign currency used to fund corrupt foreign exchange

   embezzlement schemes.” Id.; Decl. of Special Agent Alan G. Vega (“Vega Decl.”) ¶ 5 (DE 120-

   1).

          While Ortega has admitted involvement in several fraudulent schemes that harmed

   PDVSA, this motion for simplicity focuses on what the United States Government

   (“Government”) has referred to as the “Eaton-Rantor loan scheme.” The heart of the Eaton-

   Rantor scheme arose from the fact that “Venezuela has a foreign-currency exchange system

   under which the [Venezuelan] government will exchange local currency (Bolivars) at a fixed rate

   for U.S. Dollars,” and “[t]he fixed exchange rate has been well below the true economic rate by a

   substantial factor for several years.” Fernandez Aff. ¶ 19 (DE 3); Vega Decl. ¶ 3 (DE 120-1); see

   Ortega Factual Proffer, ¶ 1 (DE 65). “The difference between the fixed rate and the true

   economic rate creates opportunity for fraud and abuse.” Fernandez Aff. ¶ 20 (DE 3); Vega Decl.

   ¶ 4 (DE 120-1). By way of illustration, “in 2014, an individual could exchange 10 million U.S.

   dollars for 600 million Venezuelan Bolivars at the true economic rate. Then, if that individual

   had access to the government fixed rate, he could convert the same 600 million Bolivars into 100



   restitution obligation by the value of forfeited property held by the government.” United States v.
   Joseph, 743 F.3d 1350, 1354 (11th Cir. 2014).


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   million U.S. Dollars. Essentially, in two transactions, that person could buy 100 million U.S.

   Dollars for 10 million U.S. Dollars.” Ortega Factual Proffer ¶ 2 (DE 65); Vega Decl. ¶ 3 (DE

   120-1).

             The Eaton-Rantor scheme took advantage of this discrepancy in the exchange rates, but

   with Euros rather than U.S. Dollars. The conspirators used shell companies to buy Bolivars at the

   “true economic rate,” pretended to “loan” those Bolivars to PDVSA, and then got “repaid” at the

   special government fixed rate in Euros, rather than in Bolivars. In this way, the conspirators

   extracted hundreds of millions of Euros from PDVSA. (A Euro is worth about 1.1 U.S. Dollars at

   current exchange rates.) In particular, as the Government has explained, the co-conspirators used

   a “Hong Kong shell Company” named Eaton Global Services Limited and a “Venezuelan shell

   company” named Rantor Capital C.A. to create a “fake joint venture contract,” which

   “contemplated a fictitious 600 million U.S. Dollar joint venture,” for the ostensible purpose of

   “making of loans to PDVSA.” Fernandez Aff. ¶¶ 41-42, 46 (DE 3); see Ortega Factual Proffer

   ¶ 18 (DE 65) (“In short, Eaton, a company controlled by members of the conspiracy, ended up

   with the right to pay PDVSA about 7.2 billion Bolivars (worth around 35 million Euros) and

   receive about 510 million Euros….”).

             The money came from PDVSA. As the Government has explained, the Eaton-Rantor

   scheme was sourced with “PDVSA funds.” Fernandez Aff. ¶ 46 (DE 3); see Vega Decl. Ex. A

   (DE 120-1). According to the Government, “fake joint venture” documents were used “to justify

   the movement of the PDVSA funds” to the conspirators. Fernandez Aff. ¶ 66 (DE 3). Ortega and

   other conspirators were recorded working to “distribute the PDVSA funds to themselves and

   others” and recounting the “receipt and expenditure of the PDVSA funds,” id. ¶¶ 54, 58, and to

   “launder ORTEGA’s portion of the PDVSA funds,” id. ¶ 81. “Records obtained from email




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   search warrants confirm the flow of the PDVSA funds from PDVSA to the defendants and other

   conspirators,” according to the Government. Id. ¶ 109; see Vega Decl. & Ex. A (DE 120-1)

   (tracing proceeds from PDVSA to assets of Ortega).

          B.      Defendant Ortega Participated in the Eaton-Rantor Loan Scheme

          During the relevant time period, Ortega was PDVSA’s Executive Director of Financial

   Planning. While in that position, he participated in a series of “sophisticated false-investment

   schemes.” Fernandez Aff. ¶ 18 (DE 3); see Ortega Factual Proffer ¶ 6 (DE 65). Ortega has

   admitted participating in the Eaton-Rantor conspiracy, which had as one of its objects the

   delivery of PDVSA’s funds to Ortega as a bribe. See Ortega Factual Proffer ¶ 22.a (DE 65).2

   Ortega has also admitted that he took “a total of approximately 12 million U.S. Dollars . . . as a

   bribe payment in exchange for [his] corrupt acts and decisions in his official capacity as

   Executive Director of Financial Planning at PDVSA.” Id. ¶ 23. This admission was confirmed by

   other sources, such as a recording in which a confidential source said to another of the

   conspirators, “I mean, I didn’t tell him, ‘Look, this Ortega thing is a kick-back,’ but I imagine

   that he knows what it is.” Fernandez Aff. ¶ 90 (DE 3) (emphasis in original). Special Agents of

   Homeland Security Investigations have traced funds from the “Eaton-Rantor Loan Scheme” to

   Ortega. See Vega Decl. & Ex. A (DE 120 & 120-1).

          C.      PDVSA Suffered Pecuniary Loss Exceeding $560 Million

          The record indicates that the Government obtained documents reflecting “ten transfers

   from PDVSA from December 29, 2014 through February 3, 2015 totaling 511,913,270.74

   Euros.” Fernandez Aff. ¶ 109(a) (DE 3). (Those documents also record that the conspirator’s


   2
    Ortega also accepted bribes to assist legitimate business partners of PDVSA in obtaining
   “priority” status in apparently legitimate transactions, Ortega Factual Proffer ¶¶ 7-12 (DE 65),
   but, as noted at the outset, PDVSA focuses here on the Eaton-Rantor scheme.


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   “[c]ost” to obtain “the initial 7.2 billion Bolivars” was 36,905,664.87 Euros. Id. ¶ 109(b).) At the

   reported current Euro-Dollar exchange rate of 1.094 Dollars per Euro,3 the amount of money

   extracted from PDVSA in U.S. dollars could be estimated as $560,033,118.19. For reasons

   described below, the recognized representatives of PDVSA do not have access to records in

   order to analyze the details of the transactions and therefore calculate the compensation owed to

   PDVSA, but instead rely on the statements of sworn statements of Special Agents of Homeland

   Security Investigations to support this motion.

          D.      Recognition of Interim President Guaidó

          On January 10, 2019, Nicolás Maduro was sworn in for a second term as President of

   Venezuela. However, Venezuela’s “National Assembly declared Maduro’s presidency

   illegitimate” and named Juan Guaidó as “Interim President of Venezuela,” to serve until free and

   fair elections can be held. Jiménez v. Palacios, C.A. No. 2019-0490-KSJM, 2019 WL 3526479,

   at *3 (Del. Ch. Aug. 2, 2019).

          That same day, the President of the United States officially recognized Mr. Guaidó. See

   The White House, Statement from President Donald J. Trump Recognizing Venezuelan National

   Assembly President Juan Guaidó as the Interim President of Venezuela (Jan. 23, 2019),

   https://bit.ly/3bB933V. It has been a U.S. foreign policy priority to support the Guaidó

   government in restoring democracy, ending Maduro’s corruption and human rights abuses,

   alleviating the humanitarian crisis gripping Venezuela, and eventually restoring economic

   prosperity and the rule of law to Venezuela. But for now, Maduro continues to maintain a hold




   3
     See Dep’t of Treasury, Treasury Reporting Rates of Exchange: Current Rates (Mar. 31, 2020),
   https://fiscal.treasury.gov/reports-statements/treasury-reporting-rates-exchange/current.html
   (0.9140 Euros to 1 U.S. Dollar).


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   on certain government bodies within Venezuela. Cong. Research Service, Venezuela:

   Background and U.S. Relations, at 6-8 (Nov. 7, 2019), www.fas.org/sgp/crs/row/R44841.pdf.

           E.     The Recognized Representatives of the Republic Remove External PDVSA
                  Assets From Maduro’s Control

           The Venezuelan National Assembly and Interim President Guaidó acted promptly to

   remove PDVSA’s U.S.-based assets from Maduro’s control. On February 5, 2019, the National

   Assembly enacted a statute to, among other things, define the powers of Interim President

   Guaidó. See Statute that Governs the Transition to Democracy to Reestablish the Full Force and

   Effect of the Constitution of the Bolivarian Republic of Venezuela (Democracy Transition

   Statute), Exhibit A to the Declaration of Kent A. Yalowitz.

           The Democracy Transition Statute empowers the Interim President to “[a]ppoint ad hoc

   Administrative Boards” of state-owned corporations and other entities “for the purpose of

   appointing administrators and, in general, adopting the measures necessary to control and protect

   State company assets.” Id. art. 15. It also directs the Interim President to appoint an ad hoc

   Administrative Board for PDVSA and regulates the PDVSA Administrative Board’s authority.

   Id. art. 34.

           On April 4, 2019, Interim President Guaidó exercised his constitutional and statutory

   authority under the Democracy Transition Statute to issue Presidential Decree No. 3, which

   grants “new powers and duties” to the PDVSA Administrative Board for the purpose of

   “protect[ing] Venezuelan State assets abroad, directly or indirectly controlled by PDVSA.” See

   Exhibit B to the Declaration of Kent Yalowitz. These new powers include, for example, the

   power to “legally represent PDVSA and its subsidiaries abroad,” “in coordination with the

   Special Attorney appointed by the Interim President of the Republic.” Id. art. 5.




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          Courts in the United States must recognize actions taken pursuant to these Venezuelan

   laws by the National Assembly and Interim President Guaidó as controlling. See Order, Rusoro

   Mining Ltd. v. Bolivarian Republic of Venezuela, No. 18-7044 (D.C. Cir. May 1, 2019) (per

   curiam), Doc. No. 1785518 (“The executive branch’s action in recognizing a foreign government

   is conclusive on all domestic courts, which are bound to accept that determination.” (ellipsis and

   quotation marks omitted)); Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 932 F.3d

   126, 135 n.2 (3d Cir. 2019); Crystallex Int’l Corp. v. PDV Holding Inc., No. 15-CV-1082-LPS,

   2019 WL 6785504, at *3 n.9 (D. Del. Dec. 12, 2019); Jiménez, 2019 WL 3526479, at *10-11; OI

   European Grp. B.V. v. Bolivarian Republic of Venezuela, No. 16-cv-1533, 2019 WL 2185040, at

   *4-5 (D.D.C. May 21, 2019); see also Statement of Interest of the United States at 3, Impact

   Fluid Sol’ns LP v. Bariven SA, No. 4:19-cv-652 (S.D. Tex. Jan. 31, 2020), Dkt. 43 (“[T]he

   United States Government has recognized Guaidó as the Interim President of Venezuela.

   Accordingly, Guaidó and those appointed by him have authority to speak on behalf of the

   Bolivarian Republic of Venezuela in the United States.”).

          Accordingly, in Jiménez v. Palacios, C.A. No. 2019-0490-KSJM, 2019 WL 3526479, the

   Delaware Chancery Court confirmed that the PDVSA Administrative Board had properly taken

   control of PDVSA’s largest commercial U.S. asset, the holding companies that control Citgo

   Petroleum Corporation.

          F.      The Charges Against Ortega and the Republic’s Motion for Restitution

          On October 24, 2018, the Government filed a one-count Superseding Information,

   charging Ortega with conspiracy to commit money laundering, in violation of 18 U.S.C.

   § 1956(h), using property derived from specified unlawful activity. The conspiracy’s unlawful

   activity was “[a]n offense against a foreign nation involving bribery of a public official, and the

   misappropriation, theft, and embezzlement of public funds by and for the benefit of a public


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   official,” as well as a violation of the Foreign Corrupt Practices Act, 15 U.S.C. § 78dd-3. (DE 53

   at 1-2.) On October 31, 2018, Defendant pled guilty to the Superseding Information (DE 61),

   entered into a Plea Agreement (DE 64.) As noted above, the Plea Agreement anticipates and

   accepts that the Court may order restitution. (Id. ¶¶ 5, 17, 18.)

          On April 2, 2019, attorneys purporting to represent the Bolivarian Republic of Venezuela

   under instruction from Maduro filed a motion seeking victim status and restitution under the

   Crime Victims’ Rights Act (CVRA) and the Mandatory Victims Restitution Act (MVRA). (DE

   87.) The Government opposed the motion on the ground that it was filed under instructions of a

   person whom “the United States does not recognize” as having authority to speak on behalf of

   the Republic. (DE 99 at 2.) The Government stated that “authority to recognize a foreign

   sovereign is exclusive to the Executive Branch. Here, the President of the United States has

   recognized the Venezuelan National Assembly and Interim President Juan Guaidó as the

   legitimate government and leader” of the Republic. (Id. at 1.) The Government also explained

   that “the decision to recognize a foreign power is a political question reserved for the President

   of the United States.” Id. at 4-5 (citing and quoting Zivotofsky ex rel. Zivotofsky v. Kerry, 135 S.

   Ct. 2076, 2090 (2015); Guar. Tr. Co. of New York v. United States, 304 U.S. 126, 137-38 (1938);

   Republic of Panama v. Air Panama Internacional, S.A. 745 F. Supp. 669, 675 (S.D. Fla. 1988)).

          On May 23, 2019, the Republic filed a stipulation of substitution of counsel, explaining

   that the Republic’s proper, recognized authorities had determined that “the Republic would

   henceforth be represented in this case solely by the law firm of Arnold & Porter Kaye Scholer,

   LLP.” (DE 105 at 2 (quotation marks omitted.)

          Today, the Republic is filing an application to withdraw its motion for restitution as

   superseded by the present motion.




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                                      STANDARD OF REVIEW

          “[W]hether petitioners [under the CVRA] are victims of the criminal conduct as

   described in the [charging document] . . . is a mixed question of law and fact.” In re Stewart, 552

   F.3d 1285, 1288 (11th Cir. 2008) (per curiam). “Any dispute as to the proper amount or type of

   restitution shall be resolved by the court by the preponderance of the evidence.” 18 U.S.C.

   § 3664(e).

                                             ARGUMENT

          PDVSA is a victim of Ortega’s offense for purposes of the Mandatory Victims

   Restitution Act (MVRA) and the Crime Victims’ Rights Act (CVRA), and it is entitled to

   restitution under the MVRA.

   I.     PDVSA IS A VICTIM OF DEFENDANT’S OFFENSE UNDER THE
          MVRA AND CVRA

          The MVRA and the CVRA create legal rights and protection for crime victims, including

   by specifying procedures for awarding restitution as a mandatory component of the sentence

   upon conviction of certain criminal offenses. See 18 U.S.C. § 3663A(a)(1) (“[T]he court shall

   order, in addition to . . . any other penalty authorized by law, that the defendant make restitution

   to the victim of the offense.”). Both laws define a “victim” as “a person directly and proximately

   harmed as a result of the commission of” a specified offense. 18 U.S.C. § 3663A(a)(2) (MVRA);

   18 U.S.C. § 3771 (CVRA). The MVRA also provides that, “in the case of an offense that

   involves as an element a scheme, conspiracy, or pattern of criminal activity,” a victim

   “include[s] . . . any person directly harmed by the defendant’s criminal conduct in the course of

   the scheme, conspiracy, or pattern.” Id. § 3663A(a)(2). This language “broadens the definition

   of the term ‘victim.’” United States v. Maturin, 488 F.3d 657, 662 (5th Cir. 2007); see also

   United States v. Edwards, 728 F.3d 1286, 1293 (11th Cir. 2013) (Eleventh Circuit has



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    “repeatedly rejected attempts to narrow the scope of ‘victim’ under the statute,” and will

    consider even uncharged criminal conduct in assessing who is a victim (quoting United States v.

    Brown, 665 F.3d 1239, 1253 (11th Cir. 2011)); United States v. Dickerson, 370 F.3d 1330, 1343

    (11th Cir. 2004).

           Corporate victims are eligible under these statutes, see United States v. Collins, 854 F.3d

    1324, 1328 (11th Cir. 2017) (affirming restitution to Wells Fargo from former employee), as are

    foreign persons, see United States v. Naphaeng, 906 F.3d 173, 175 (1st Cir. 2018) (affirming

    restitution to foreign nationals). PDVSA is thus eligible. It makes no difference that PDVSA’s

    sole shareholder is the Republic. The Supreme Court has long instructed that “duly created

    instrumentalities of a foreign state are to be accorded a presumption of independent status,” as a

    matter of “[d]ue respect for the actions taken by foreign sovereigns and for principles of comity

    between nations.” First Nat. City Bank v. Banco Para el Comercio Exterior de Cuba, 462 U.S.

    611, 626-27 (1983); see GSS Group Ltd v. National Port Authority, 680 F.3d 805, 817 (D.C.

    Cir. 2012) (a state-owned firm is “a separate ‘person’ entitled to due process protection”); see

    also 1 U.S.C. § 1 (“person” in federal statute “include[s] corporations”). It is well established,

    moreover, that government entities are eligible for restitution, e.g., United States v. Washington,

    434 F.3d 1265, 1268 (11th Cir. 2006), and foreign sovereigns in particular have been awarded

    restitution, e.g., United States v. Bengis, 631 F.3d 33 (2d Cir. 2011) (Republic of South Africa);

    see also U.S. Dep’t of Justice, Attorney General Guidelines for Victim and Witness Assistance

    12 (2012) (foreign governments “may qualify for restitution under federal restitution statutes”).

           Here, PDVSA was “directly and proximately harmed” by the commission of the offense

    to which Ortega pled guilty and by Ortega’s conduct. The record shows that Ortega, then an

    executive of PDVSA, conspired to embezzle hundreds of millions of dollars from PDVSA and




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    launder the proceeds. Supra pp. 1-5. Ortega accepted $12 million in bribes and was slated to get

    even more when the authorities stepped in; in exchange, he manipulated the levers of PDVSA

    from within to channel fake “loan repayments” to shell companies in order to extract money

    from PDVSA. Ortega Factual Proffer, ¶¶ 15-18, 23 (DE 65); see also Fernandez Aff. ¶¶ 56, 61,

    64, 81 (DE 3) (describing evidence that Ortega received share of embezzled PDVSA funds).

           Courts in this Circuit routinely accord victim status and order the payment of restitution

    to organizations whose rogue employees and officers—like Ortega—have embezzled from them

    or have otherwise unlawfully diverted their funds. In United States v. Ramdeo, 682 F. App’x

    751 (11th Cir. 2017), for example, a corporation’s payroll manager, who had been tasked with

    paying the corporation’s payroll taxes during a period of financial distress, hired his own sham

    tax-assistance company with the purported purpose of helping the company make timely

    payments. Id. at 753. The manager diverted over $22 million in corporate funds to the fake

    company and used those funds to start and operate his own charter airline, meanwhile using

    external bank accounts to launder the funds. Id. The district court awarded over $21 million in

    restitution to the victim corporation, and the Eleventh Circuit affirmed. Id. at 758. Similar fact

    patterns—involving organizations defrauded by their employees—are common. See, e.g. United

    States v. Futrell, 209 F.3d 1286, 1290-91 (11th Cir. 2000) (restitution to Tennessee Valley

    Authority from former employee convicted of conspiring to make false statements in connection

    with receipt of disability benefits); United States v. Lange, 592 F.3d 902, 907 (8th Cir. 2010)

    (restitution to credit union from employee convicted of embezzlement); United States v. Gee,

    432 F.3d 713, 715 (7th Cir. 2005) (restitution to nonprofit organization from state senator who

    traded kickbacks for state contracts).




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           To be sure, a corporation can be denied restitution where it “was a knowing participant

    in the very offense for which the defendant was ordered to pay restitution, sharing the goals of

    the defendant.” United States v. Emor, 850 F. Supp. 2d 176 (D.D.C. 2012) (emphasis added)

    (citations omitted). For example, in In re Wellcare Health Plans, Inc., 754 F.3d 1234 (11th Cir.

    2014), Wellcare was denied victim status because Wellcare itself defrauded others of

    approximately $40 million. Id. at 1236. The Eleventh Circuit affirmed the denial of restitution

    because “Wellcare admitted that it was a co-conspirator in the underlying fraudulent conduct”

    and even “paid restitution and forfeited assets as a result of its participation in the criminal

    offenses.” Id. at 1239. But here, in contrast, the end and aim of the Eaton-Rantor conspiracy was

    to extract money from PDVSA.

           Accordingly, PDVSA is a victim of Ortega’s offense.

    II.    PDVSA IS ENTITLED TO MANDATORY RESTITUTION UNDER THE MVRA

           PDVSA meets all requirements for mandatory restitution under the MVRA: [1] it is the

    victim of a qualifying offense [2] “in which an identifiable victim or victims has suffered . . .

    pecuniary loss.” 18 U.S.C. § 3663A(c). This Court should therefore enter an order of restitution

    in the full amount of the funds unlawfully appropriated from PDVSA or, in the alternative,

    should set a hearing at which the proper amount of restitution can be established.

           A.      Defendant’s Offense Triggers Mandatory Restitution Under the MVRA

           The MVRA requires restitution for the victims of certain crimes, with the “primary and

    overarching purpose” to “make victims of crime whole, to fully compensate these victims for

    their losses and to restore these victims to their original state of well-being.” Collins, 854 F.3d at

    1329. The mandatory restitution scheme applies to any “offense against property” under Title 18,

    “including any offense committed by fraud or deceit.” 18 U.S.C. § 3663A(c)(1)(A)(ii).




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           Ortega’s offense qualifies. Ortega pled guilty to conspiracy to commit money laundering,

    in violation of 18 U.S.C. § 1956(h), with the particular object of the conspiracy being to launder

    funds “derived from a specified unlawful activity,” in violation of § 1957(a). (DE 53; DE 64.) As

    a general matter, money laundering offenses under § 1956 and § 1957 trigger mandatory

    restitution. See, e.g. United States v. Luis, 765 F.3d 1061, 1064 (9th Cir. 2014).

           Moreover, the “specified unlawful activity” underlying Ortega’s money laundering

    offense was “[a]n offense against a foreign nation involving bribery of a public official, and the

    misappropriation, theft, and embezzlement of public funds by and for the benefit of a public

    official.” (DE 53 at 2.) These sorts of offenses—where the perpetrators “intentionally derive[ ] an

    unlawful pecuniary gain by taking property belonging to [another party]”—necessarily qualify as

    offenses against property under the MVRA. See Collins, 854 F.3d at 1335 (citing Black’s Law

    Dictionary 454 (10th ed. 2014)); see also, e.g. Edwards, 728 F.3d at 1289 (mail fraud, wire

    fraud, and money laundering); Futrell, 209 F.3d at 1290-91 (conspiracy to make false

    statements to obtain disability benefits).

           B.      PDVSA Suffered Pecuniary Loss

           Ortega’s offense was also one for which “an identifiable victim or victims suffered . . .

    pecuniary loss.” 18 U.S.C. § 3663A(c)(1)(B). As the Government has explained, the conspiracy

    in this case was a “scheme to embezzle approximately 600 million U.S. Dollars from PDVSA.”

    Fernandez Aff. ¶ 30 (DE 3). The Eaton-Rantor scheme took advantage of exchange-rate

    discrepancies by using shell companies to (1) buy 7.2 billion Bolivars at the “true economic

    rate,” (2) pretend to “loan” those Bolivars to PDVSA in sham transactions, and then (3) get

    “repaid” at the special government fixed rate in Euros, rather than in Bolivars. Id. ¶¶ 41-42, 46;

    Ortega Factual Proffer ¶ 18 (DE 65).




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           As the Government has explained, the Eaton-Rantor scheme “was disguised as a

    ‘financing’ arrangement” sourced with “PSVSA funds.” Fernandez Aff. ¶ 46 (DE 3). According

    to the Government, “fake joint venture” documents were used “to justify the movement of the

    PDVSA funds” to the conspirators. Id. ¶ 66. Ortega and other conspirators were caught red-

    handed working to “distribute the PDVSA funds to themselves and others,” id. ¶ 54, recorded

    their ‘receipt and expenditure of the PDVSA funds,” id. ¶¶ 58, and agreed to “launder

    ORTEGA’s portion of the PDVSA funds,” id. ¶ 81. “Records obtained from email search

    warrants confirm the flow of the PDVSA funds from PDVSA to the defendants and other

    conspirators.” Id. ¶ 109.

           Because the Eaton-Rantor scheme caused a pecuniary loss to PDVSA, the MVRA

    requires the Court to “order restitution to each victim in the full amount of [the] victim’s losses

    as determined by the court and without consideration of the economic circumstances of the

    defendant.” 18 U.S.C. § 3664(f)(1)(A).

    III.   RESTITUTION OF AT LEAST $560,033,118.19 SHOULD BE ORDERED

           The loss calculation here is straightforward. When “a defendant’s conduct was permeated

    with fraud,” the proper “starting point for calculating the victim’s pecuniary harm” is “the

    amount that was transferred from the victim to the fraudulent enterprise.” Campbell, 765 F.3d at

    1305; accord United States v. Foster, 878 F.3d 1297, 1306 (11th Cir. 2018). With respect to the

    Eaton-Rantor scheme, the amount transferred from PDVSA is at least 511,913,270.74 Euros. At

    current Euro-Dollar exchange rates, that amount is $560,033,118.19.

           A.      No Offset Should Be Permitted

           In some cases, “value may be rendered even amid fraudulent conduct,” permitting an

    offset for “the fair market value of the returned money or the services rendered.” Foster, 878

    F.3d at 1306 (quoting Campbell, 765 F.3d at 1302). “But a defendant is not entitled to receive


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    credit for returning money if his sole purpose in doing so is ‘to conceal or perpetuate his

    scheme.’” Id. (quoting Campbell, 765 F.3d at 1302). Thus, in Foster, the defendant was not

    entitled to credit for real estate contracts that he sold to his victims as part of a sham investment

    scheme, even if they had some opportunity to attempt to salvage real economic value from the

    contracts. Id. Similarly, in United States v. Blitz, 151 F.3d 1002 (9th Cir. 1998), the court held

    that fraudulent telemarketers “were not entitled to a credit for the refunds they purportedly gave

    to some” victims. Id. at 1012. While the court recognized that “value may be rendered even amid

    fraudulent conduct,” the cash refunds “did not constitute legitimate services rendered to [victim]

    customers. Instead, they were a part of [the] fraudulent scheme,” because the conspirators’ return

    of money to victims “was done for the sole purpose[ ] of deflecting serious disruption of their

    schemes and making the operation look legitimate.” Id. (quotation marks omitted).

           Here, it is true that the conspirators provided PDVSA with 7.2 billion Bolivars, which

    they acquired at a cost (reflecting true economic value) of 36,905,664.87 Euros. But there should

    be no offset of the 37 million Euros, because the conspirators’ delivery of that money to PDVSA

    was done for the sole purpose of “making the operation look legitimate.” Blitz, 151 F.3d at 1012.

    As a result, no offset should be permitted.

           B.      Joint and Several Liability Would Be Appropriate

           Ortega may argue that he should not be responsible for the entire loss amount because he

    is one of several co-conspirators who harmed PDVSA. The MVRA, however, “specifically

    contemplates joint and several liability,” so that apportionment is available, but not necessary.

    United States v. Puentes, 803 F.3d 597, 605 (11th Cir. 2015); see 18 U.S.C. § 3664(h) (“If the

    court finds that more than 1 defendant has contributed to the loss of a victim, the court may make

    each defendant liable for payment of the full amount of restitution or may apportion liability

    among the defendants to reflect the level of contribution to the victim’s loss and economic


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    circumstances of each defendant.”). Given Ortega’s position as PDVSA’s Executive Director of

    Financial Planning, his role in the conspiracy, and the payments he personally received, it is

    within the Court’s discretion to hold him jointly and severally responsible for the total loss.

           C.      The Court May Hold a Hearing to Resolve Disputed Issues of Material Fact

           To the extent that there is any doubt about the facts, this Court may conduct an

    evidentiary hearing to determine on the amount of restitution owed. See 18 U.S.C. § 3664(e);

    Fed. R. Crim. P. 60(a)(3). If the presentence investigation report in this case—which PDVSA

    does not have access to—fails to include the amount of PDVSA’s losses, this Court prior to the

    sentencing hearing must direct the Probation Office “to obtain and include in its presentence

    report . . . information sufficient for the court to” estimate those losses. 18 U.S.C. § 3664(a). The

    MVRA also entitles PDVSA, as a victim, to put forward evidence of its own losses. Id.

    § 3664(d)(2)(A)(iii) (Probation Office must ensure “the opportunity of the victim to submit

    information to the probation officer concerning the amount of the victim’s losses”). And if the

    Court determines that PDVSA’s losses “are not ascertainable by the date that is 10 days prior to

    sentencing, the attorney for the Government or the probation officer shall so inform the court,

    and the court shall set a date for the final determination of the victim's losses, not to exceed 90

    days after sentencing.” Id. § 3664(d)(5).

                                                CONCLUSION

           This Court should rule that PDVSA is a victim of Ortega’s offense under the CVRA and

    MVRA. This Court should further enter an order of restitution in the full amount of PDVSA’s

    losses ascertainable from the record or, in the alternative, should set a restitution hearing prior to,

    or at the time of, sentencing in this case. Any restitution should be ordered paid to PDVSA under

    the direction of its ad hoc board, see supra p. 6, and any payments of such restitution should be

    made to an account controlled by the ad hoc board.


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     Dated: April 24, 2020                              Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 24, 2020, I electronically filed the foregoing document with

    the Clerk of the Court using CM/ECF, which will deliver the document to all counsel of record.


    Dated: April 24, 2020                                /s/ Jason A. Ross
                                                         Jason A. Ross




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